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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 24-60591-CIV-DAMIAN


  CONSWALLO TURNER, et al.,

         Plaintiffs,

  v.

  ENHANCE HEALTH LLC, et al.,

        Defendants.
  ________________________________________/

           ORDER ON STIPULATION OF DISMISSAL OF DEFENDANTS
         ENHANCE HEALTH LLC, BAIN CAPITAL INSURANCE FUND L.P.,
          NET HEALTH AFFILIATES, INC., AND MATTHEW B. HERMAN

         THIS CAUSE is before the Court upon the Stipulation of Dismissal, filed by Plaintiffs,

  Conswallo Turner, Tiesha Foreman, Angelina Wells, Veronica King, Paula Langley,

  NavaQuote, LLC and WINN Insurance Agency LLC, and Defendants Enhance Health

  LLC, Bain Capital Insurance Fund L.P., Net Health Affiliates, Inc. and Matthew B. Herman

  (“Defendants,” and collectively with Plaintiffs, the “Parties”), [ECF No. 157] (“Stipulation”),

  filed on May 8, 2025. The Court notes that these Defendants have not yet filed an answer or

  a motion for summary judgment.

         THE COURT having considered the Stipulation and being otherwise fully advised,

  and pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i) and (B), it is hereby
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         ORDERED AND ADJUDGED that the Parties’ claims and defenses are hereby

  DISMISSED WITHOUT PREJUDICE, with the Parties to bear their own attorneys’ fees

  and costs.

         Plaintiffs’ claims against Defendants TrueCoverage, LLC, Speridian Technologies,

  LLC, Benefitalign LLC, Girish Panicker, and Matthew Goldfuss remain pending.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, this 19th day of

  May, 2025.



                                                  __________________________________
                                                  MELISSA DAMIAN
                                                  UNITED STATES DISTRICT JUDGE




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